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                              UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

    IN RE: SOCIAL MEDIA ADOLESCENT                      MDL No. 3047
    ADDICTION/PERSONAL INJURY
    PRODUCTS LIABILITY LITIGATION                       Case Nos.:     4:22-md-03047-YGR
                                                        (PHK)
                                                                       4:23-cv-05448-YGR
    This Document Relates To:
                                                        JOINT LETTER BRIEF ON
    People of the State of California, et al. v. Meta   META’S REQUEST FOR ORDER
    Platforms, Inc., et al.                             ON META’S FOURTH SET OF
                                                        REQUESTS FOR PRODUCTION

                                                        Judge: Hon. Yvonne Gonzalez Rogers
                                                        Magistrate Judge: Hon. Peter H. Kang


Dear Judge Kang:

       Pursuant to the Court’s Standing Order for Discovery in Civil Cases, the State AGs and
Defendants Meta Platforms, Inc.; Instagram, LLC; Meta Payments, Inc.; and Meta Platforms
Technologies, LLC (collectively, “Meta”) respectfully submit this letter brief regarding Meta’s
Fourth Set of Requests for Production, Request No. 1.1

        Pursuant to the Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that
they repeatedly met and conferred by video conference, email, and correspondence before filing
this brief. Because all lead counsel were not located in the geographic region of the Northern
District of California or otherwise located within 100 miles of each other, they met via
videoconference for an H.2 conferral on April 15, 2025. Lead trial counsel have concluded that
no agreement or negotiated resolution can be reached.2




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  Exhibit A is an example of Meta’s March 3, 2025 Fourth Set of Requests for Production to the
State AGs. Request No. 1 requests the production of: “All Documents Relating to or reflecting
any communication with the State Attorney General’s Office regarding or Relating to Instagram
Teen Accounts.”
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  South Carolina is not included in this briefing because it has reached an agreement with Meta to
produce non-privileged documents responsive to Meta’s Fourth Set of Requests for Production,
Request No. 1, and is negotiating document custodians with Meta.
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Dated: April 18, 2025             Respectfully submitted,


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Meta’s Position: The States improperly seek to avoid reciprocal document discovery into an issue
that Plaintiffs injected into this litigation months after the April 1, 2024 Relevant Time Period
ended. Specifically, despite receiving from Meta seven-months’ worth of document discovery
into Instagram Teen Accounts (which Meta launched on September 17, 2024), all but one State
AG is now refusing to produce seven-weeks’ worth of documents to Meta reflecting the State AGs’
own communications relating to Instagram Teen Accounts. The States’ primary argument against
discovery—a Court order setting limitations on additional document requests—ignores the fact
that the same exceptions that Plaintiffs invoked to obtain Instagram Teen Accounts documents
from Meta also apply here. These States should be compelled to produce reciprocal document
discovery to Meta.

Background: On September 17, 2024, Meta announced the launch of Teen Accounts on Instagram.
In October 2024, Plaintiffs served five document requests seeking Instagram Teen Accounts-
related documents from Meta. See Plaintiffs’ Fifteenth Set of RFPs, Request Nos. 369–373. In
response, Meta agreed to run ten search terms, over seven custodians, for approximately a seven-
month time period, from April 2 to October 30, 2024. See Meta’s R&Os to Plaintiffs’ Fifteenth
Set of RFPs. Between December 30, 2024 and January 31, 2025, Meta produced over 75,000
documents in response to Plaintiffs’ new requests.

Shortly after substantially completing its production of Teen Accounts document discovery, on
March 4, 2025, Meta served its own document request seeking more limited, but reciprocal,
discovery from the Plaintiff States about Instagram Teen Accounts. Specifically, Meta sought
production of “[a]ll Documents Relating to or reflecting any communication with the State
Attorney General’s Office regarding or Relating to Instagram Teen Accounts.” See Exhibit A.
Meta’s request was limited to material from seven weeks, from September 17 to October 30, 2024.
This period coincided with Teen Accounts’ launch, and the end date of the Teen Accounts-related
document discovery that Meta provided. On April 8, 2025, Meta proposed that the States run
seven of the ten search terms that Meta used for Plaintiffs’ Teen Accounts discovery request.

South Carolina agreed to run Meta’s proposed search terms and produce responsive non-privileged
documents, and is negotiating custodians with Meta. The other States, however, claim they have
no obligation to respond to Meta’s discovery request because this Court has limited the parties’
service of additional document requests to two exceptions: (1) “materials that fall outside the
Relevant Time Period;” and (2) “materials concerning new developments, facts, or issues that may
come to light in discovery or otherwise.” See ECF 1479 at 20 (DMO 13); ECF 1408 at 2 (Dec.
11, 2024 DMCS).

Argument: All States must produce documents in response to Meta’s Instagram Teen Accounts
discovery request. There can be no legitimate dispute over the discoverability of the requested
documents; indeed, Plaintiffs introduced Teen Accounts into this case in October 2024, and Meta
produced over 75,000 documents’ worth of related discovery to the States already.

The States’ efforts to avoid providing limited reciprocal discovery are meritless. The States argue
that Meta’s request is “untimely” because of this Court’s limitations on additional document
requests. ECF 1479 at 20 (DMO 13); ECF 1408 at 2 (Dec. 11, 2024 DMCS). But Meta’s request
fits both exceptions that allow for new requests: Meta’s request only seeks documents that (1) fall
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outside of the Relevant Time Period (which ended on April 1, 2024), and (2) “concern[] new
developments, facts, or issues”—e.g., Instagram Teen Accounts, which Plaintiffs introduced into
this case after the Relevant Time Period ended. Id. Indeed, the Plaintiffs relied on these same
exceptions to justify their own Instagram Teen Accounts document requests to Meta.

The States have not offered any cogent explanation of why Meta’s request fails to meet either
exception. First, the States never explain how Meta’s request fails to qualify under the plain
language of the exceptions. That is because the States cannot.

Second, the States argue that Meta’s request is outside the “purpose” of the exceptions because
Meta created the new development by launching Teen Accounts. But not only are this Court’s
exceptions agnostic about who created the new development, the “new development” triggering
Meta’s requests is Plaintiffs’ own creation—Plaintiffs’ decision to introduce Instagram Teen
Accounts into this case. Meta would have no reason to seek Teen Accounts-related discovery
absent Plaintiffs’ request for discovery on this same topic.

Third, the State AGs incorrectly claim that they lack relevant “new information” about Teen
Accounts. For example, on the day of Teen Accounts’ launch, the NY AG and Governor issued a
joint statement that “the changes announced today by Instagram are proof that New York’s nation-
leading laws are already making a powerful impact to protect kids online.”3 The CT AG similarly
stated that “Meta is doing the very least it can do to look like it is doing something.”4 The internal
communications that led to these statements, any follow-up communications (including with
members of the public), and any discussions in other AGs’ offices about whether to make similar
statements, is not information that Meta can obtain absent discovery. And such information is
undoubtedly germane to Meta’s defenses as long as the States keep Teen Accounts in this case;
for instance, such information could shed light on whether, how, and to what extent Teen Accounts
addresses any Plaintiff States’ at-issue concerns about Meta.

The States assert that “[t]hese statements have limited relevance to the claims.” Meta disagrees to
the extent the State intend to keep Teen Accounts in this case. But in any event, Meta’s proposed
search is narrow and targeted: seven Teen Accounts-focused search terms, to be run for a seven-
week period that begins with Teen Accounts’ launch, across a set of to-be-negotiated custodians
from AG offices (and not any other state agency). The States should not be permitted to obtain
over 75,000 Teen Accounts-related documents from Meta, while avoiding making any effort to
provide Teen Accounts-related document discovery from their own files.

Fourth, the States argue that Plaintiffs’ Teen Accounts discovery requests are materially
distinguishable because they were served in October 2024, and Meta served its request in early
March 2025. But the States do not dispute the fact that Meta served and sought compliance with


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  New York State Attorney General, Statement from Attorney General James and Governor
Hochul on Instagram Announcement (Sep. 17, 2024), https://ag.ny.gov/press-
release/2024/statement-attorney-general-james-and-governor-hochul-instagram-announcement.
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  Connecticut Office of Attorney General, Attorney General Tong Statement Regarding Instagram
Teen     Accounts     (Sep.   17,    2024),    https://portal.ct.gov/ag/press-releases/2024-press-
releases/attorney-general-tong-statement-regarding-instagram-teen-accounts.
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its request within the fact discovery period. That alone should resolve any timeliness arguments
in Meta’s favor. Indeed, while the States fault Meta for not serving its request earlier, the States
cannot identify any discovery deadline that Meta violated with the timing of its request.

Finally, the States claim that responsive documents are “likely” to be privileged, and any search
for them would be disproportionate to the needs of the case. These concerns can be addressed in
search parameter negotiations, including the selection of appropriate search terms and custodians
for the seven-week period of document discovery that Meta has requested. But the States’ blanket
privilege concerns are no reason to excuse the States from engaging with Meta’s request for
reciprocal Teen Accounts discovery in a case where the States are seeking hundreds of millions—
if not billions—of dollars from Meta.

The States cannot use this Court’s orders as both a sword and a shield. The States have obtained
document discovery into Instagram Teen Accounts based on the same exceptions that they now
seek to disclaim to avoid providing Instagram Teen Accounts discovery. All States must be
required to produce documents responsive to Meta’s Fourth Set of Document Requests.

Plaintiffs’ Position:5 On March 4, 2025, Meta served an untimely Request for Production (“RFP”)
on the State AGs requesting the State AGs’ communications from September and October 2024
about a feature that Meta launched in September 2024. Meta served this RFP roughly three months
after the Court entered a December 20, 2024 Order limiting Meta’s service of additional discovery
requests on the State AGs and roughly six months after it launched the subject feature. Thus, Meta
had ample opportunity to serve this RFP (which is of limited, if any, relevance to the claims or
defenses in this case) in a timely fashion and in compliance with this Court’s December 20 Order.
The Plaintiffs respectfully request this Court to enforce its December 20 order and bar Meta from
seeking documents in response to this untimely RFP.

District courts have broad discretion to limit discovery to prevent its abuse. See Fed. R. Civ. P.
26(b)(2) (instructing that courts must limit discovery where the party seeking the discovery “has
had ample opportunity to obtain the information by discovery in the action” or where the proposed
discovery is “unreasonably cumulative or duplicative.”). Additionally, under Rule 26(b)(1),
discovery must be “proportional to the needs of the case.” Indeed, the Court may protect a party
from undue burden or expense. Fed. R. Civ. P. 26(c)(1). The proportionality requirement was
added “to guard against redundant or disproportionate discovery by giving the court authority to
reduce the amount of discovery that may be directed to matters that are otherwise proper subjects
of inquiry. The [proportionality requirement] is intended to encourage judges to be more
aggressive in identifying and discouraging discovery overuse." Fed. R. Civ. P. 26 advisory
committee's note to 2015 amendment. Accordingly, the Court holds broad discretion to manage
discovery. U.S. Fidelity & Guar. Co. v. Lee Inv. LLC, 641 F.3d 1126, 1136 n.10 (9th Cir. 2011).

On December 20, 2024, this Court ordered Meta’s commitment not to serve additional RFPs on
the State AGs, with two limited exceptions: (1) RFPs “for materials that fall outside the Relevant
Time Period” and (2) RFPs “to obtain materials concerning new developments, facts, or issues that

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  South Carolina is omitted from this dispute as having separately conferred with Meta to conduct
a search for responsive documents.

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may come to light in discovery or otherwise.” Dec. 11, 2024 DMCS at 2. See ECF 1479 at 20
(“DMO 13”); ECF 1408 at 2 (“Dec. 11, 2024 DMCS”). The State AGs agreed to, and this Court
ordered, the same limitations on the State AGs’ service of additional RFPs on Meta. See ECF 969
at 3-4 (“DMO 7”). The parties entered into these agreements to put reasonable limits on further
written discovery unless there was some new development or information learned through
discovery or otherwise that necessitated additional demands. The purpose of these exceptions is to
preserve the parties’ rights to seek additional discovery based on newly obtained information
relevant to the claims and defenses of the case, about which the parties would not have previously
known. Meta could have issued the RFP prior to entry of the December 20 Order. See ECF 1290
at 2. It did not.

Despite the Court’s December 20 Order, Meta served its Fourth set of Requests for Production on
March 4, 2025, seeking all communications with State AGs from September 17, 2024 to October
30, 2024 related to Instagram Teen Accounts--a feature that Meta launched on September 17, 2024.

Meta’s RFP seeks information that is not within the purpose of the December 20 Order’s
exceptions to further written discovery. Meta’s request does not concern a new development.
Rather, the RFP arises from Meta’s own initiation of a feature it created six months before the
issuance of the RFP. Meta was aware it was developing this feature, and Meta notified the State
AGs of this feature in September 2024.6 Plaintiffs did not create, nor did they introduce, IG Teen
Accounts. Further, the State AGs would not have new information about Instagram Teen
Accounts. Instead, any communications with State AG offices after Meta developed this feature
would likely only be in reaction to the feature or focused on law enforcement efforts—neither of
which have any bearing on the claims or defenses in this case. Meta’s requests are not reciprocal,
as Meta claims, when Meta created the very feature that it is now seeking reactionary discovery
on. Indeed, Meta admits it would not have sought these communications if not for Plaintiffs’
requests from October. Meta issued its RFP nearly five months after the Plaintiffs issued their
October requests on IG Teen Accounts, and six months after the launch of IG Teen Accounts.
Meta does not, and cannot, identify any new development that remained as of March 2025, when
Meta served its request.

Even if Meta’s request was within the purpose of the exceptions (which it is not), its request was
still untimely. Nearly three months after Meta created IG Teen Accounts, Meta entered an
agreement not to serve further written discovery in December. Then, inexplicably, Meta waited to
serve its discovery request to the State AGs until nearly six months after the launch of the feature,
and thirty-one days before the close of written discovery. Under Meta’s approach, it would be
permissible to issue RFPs regarding any subject at any time without limitation, as long as the
matter occurred outside of the Relevant Time Period. This approach is unreasonable and
unworkable.




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  Plaintiffs did serve discovery demands related to IG Teen Accounts on Oct. 4, 2024, shortly after
receiving notice of the feature. However, Plaintiffs demands regarding documents about the
feature, how it works, and its implementation, are probative of the claims, and different than
Meta’s demands for communications with State AGs in response to this feature.

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Furthermore, Meta has not articulated to the State AGs what non-privileged information would be
obtained from these requests that is relevant to any claim or defense in this matter and proportional
to the needs of this case, nor can the State AGs think of any. When asked what types of responsive,
non-privileged communications Meta seeks through this RFP, Meta offered that two State AGs
have released public statements about the launch of Instagram Teen Accounts.7 These statements
have limited relevance to the claims. For example, the NY AG statement only notes that Instagram
launched changes to its platform for underage users, and then focuses on legislation directed at
protecting children online. Likewise, the CT AG statement references perceived shortcomings of
IG Teen Accounts, but does not provide any new or substantive information other than a reaction
to the feature. These public statements and others like them, to the extent they exist, are readily
available to Meta through public sources. Meta also intimated that more communications with
State AG Offices could exist surrounding the launch of the feature, but did not provide examples
or explain their potential relevance to the claims or defenses in this case. Any internal
communications from State AGs’ offices are likely to be focused on law enforcement efforts,
which have no bearing on the subject matter of this litigation—Meta’s wrongful and deceptive acts
related to teen mental health and safety.

The State AGs ask the Court to enforce Meta’s agreement not to serve further RFPs because Meta’s
request is inexplicably delayed, not within the purpose of the exceptions, and targeted at irrelevant
and/or privileged materials and thus not proportional to the needs of this case.




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  Both the New York Attorney General and Connecticut Attorney General provided a statement
on Sep. 17, 2024 related to IG Teen Accounts. See New York State Attorney General, Statement
from Attorney General James and Governor Hochul on Instagram Announcement (Sep. 17, 2024),
https://ag.ny.gov/press-release/2024/statement-attorney-general-james-and-governor-hochul-
instagram-announcement; Connecticut Office of Attorney General, Attorney General Tong
Statement Regarding Instagram Teen Accounts (Sep. 17, 2024), https://portal.ct.gov/ag/press-
releases/2024-press-releases/attorney-general-tong-statement-regarding-instagram-teen-accounts.

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